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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 1:24-cv-24453-KMW

   PROPERTY TAX CONSULTANTS, LLC,
   a Florida limited liability company,

          Plaintiff,

          v.

   TAX SAVERS OF MIAMI, INC., a Florida
   corporation, and LAWRENCE PUYANIC,
   an individual,

         Defendants.
   _________________________________/

                                       AMENDED COMPLAINT

          Plaintiff, Property Tax Consultants, LLC (“Property Tax Consultants” or “Plaintiff”), by

   and through undersigned counsel, files its Amended Complaint against the Defendants Tax Savers

   of Miami, Inc. (“Tax Savers”) and Lawrence Puyanic (“Puyanic”), and alleges as follows:

                                             INTRODUCTION

          1.      Backed by practitioners with long term experience (one as far back as 1982),

   Property Tax Consultants represents owners of real and tangible personal property in connection

   with, inter alia, property tax appeals.

          2.      Firms that provide these services customarily send marketing literature to current

   and prospective clients in the months leading up to the deadline to submit property tax appeals.

          3.      This action concerns false or misleading claims made by the Defendants on their

   website and in connection with advertisements issued in 2024. The false or misleading claims

   include representations about success rates and other information that is material to clients or

   prospective clients when make decisions about the hiring of a firm to handle property tax matters.




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                                         NATURE OF THE ACTION

           4.       This is an action seeking injunctive and other relief as a result of the Defendants’

   (a) false and misleading advertising, unfair competition, and false misrepresentation in violation

   of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a); (b) unfair and/or deceptive trade practices

   in violation of Fla. Stat. §501.201, et seq.; (c) misleading advertising in violation of Fla. Stat.

   §817.41; and (d) tortious interference with Plaintiff’s advantageous business relationships.

                                             THE PARTIES

           5.       Plaintiff is a limited liability company duly organized under the laws of the State

   of Florida, with a principal place of business in this District at 1484 E. Hallandale Beach

   Boulevard, Hallandale, Florida 33009.

           6.       Defendant Tax Savers is a for-profit corporation registered in the State of Florida,

   with a principal place of business at 717 Ponce de Leon Boulevard, Suite 330, Coral Gables,

   Florida 33134.

           7.       Defendant Puyanic is an individual with an address at 717 Ponce de Leon

   Boulevard, Suite 330, Coral Gables, Florida 33134.

           8.       At all times material hereto, Tax Savers has been conducting business in this

   District, primarily in Miami-Dade County and Broward County.

           9.       Defendant Puyanic is the President of Defendant Tax Savers. Upon information and

   belief, he has the capacity to control the acts of Defendant Tax Savers; supervises and has the

   ability to supervise the acts complained of against Defendant Tax Savers; has induced, has caused,

   and/or is a motivating force behind the acts set forth herein; and has a financial interest in and/or

   actually participated in said acts.




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                                        JURISDICTION AND VENUE

            10.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331. This Court

   also has jurisdiction pursuant to the doctrine of supplemental jurisdiction, as set forth in 28 U.S.C.

   §1367.

            11.        Personal jurisdiction is proper over the Defendants because the Defendants reside

   in this District.

            12.        Personal jurisdiction is proper over the Defendants because:

                       a. Defendants are engaged in substantial and not isolated activity within the State

                          of Florida and this District, within the meaning of Fla. Stat. §48.193(2); and/or

                       b. Defendants have operated, conducted, engaged in, or carried on a business or

                          business venture in the State of Florida and this District, from which this action

                          arises, within the meaning of Fla. Stat. §48.193(2); and/or

                       c. Defendants have maintained an office or agency in the State of Florida and this

                          District, within the meaning of Fla. Stat. §48.193(2); and/or

                       d. Defendants have committed tortious acts within the State of Florida and this

                          District, including the false advertising, unfair trade practices, and tortious

                          interference set forth herein, within the meaning of Fla. Stat. §48.193(2).

            13.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c) for the following

   reasons:

                       a. All Defendants reside in this District; and/or

                       b. All Defendants are subject to personal jurisdiction in this District; and/or

                       c. a substantial part of the events or acts giving rise to the claims alleged herein

                          occurred in this District; and/or




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                  d. the acts complained of are being committed or have been committed in this

                      District.

                                     FACTUAL ALLEGATIONS

          14.     Plaintiff and Defendants are competitors in the property tax assessment appeal

   business, offering those services to residential and commercial clients.

          15.     Defendants have commenced publishing, circulating, and disseminating written

   advertisements and communications as set forth hereinafter with greater particularity. See Exhibit

   A.

          16.     The advertisements and communications published by Defendants in commerce

   contain information that is false or stated in a way as to be misleading by misrepresenting the

   qualities of Defendants’ services, and which Defendants knew or should have known to be false.

                           Defendants Misrepresent Results and Experience

          17.     Defendants have made numerous false or misleading representations to consumers

   regarding the nature or effectiveness of their services. These include:

                  a. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 85% for properties
                     valued at over $1 million across retail, multi-family, and industrial asset
                     classes,” when the actual success rate was nearly 30% lower at 57.84%,
                     as shown in the table in Paragraph 19, below.

                  b. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 70% for properties
                     valued at over $500,000 across single family, condominium, and multi-
                     family asset classes,” when the actual success rate was over 20% lower
                     at 49.57%, as shown in the table in Paragraph 19, below.

                  c. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 70% with vacant
                     land,” when the actual success rate was over 15% lower at 54.71%, as
                     shown in the table in Paragraph 19, below.




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                    d. making the false or misleading claim in their advertising that Tax Savers
                       has handled “250,000+ successful property tax appeals.”

                   Defendants’ Published “Success Rates” are Intentionally Misleading

            18.     Defendants claim in the challenged advertisements to have an “industry-leading

   success rate of 70% or 85%, depending on the advertisement or class of properties. See Exhibit

   A.

            19.     The available data from the Value Adjustment Boards of Miami-Dade and Broward

   Counties demonstrates that the Defendants’ claimed success rates are false or misleading, in that

   the actual success rates are lower than the ones advertised, as shown below.

                     Reduced        Total                      Reduced       Total
                     Petitions    Petitions   Percentage       Petitions   Petitions
        Property    in Miami-    in Miami-     in Miami-          in          in       Percentage     Overall
          Type         Dade         Dade          Dade         Broward     Broward     in Broward   Percentage
        VACANT
                       301          456        66.01%             1           96         1.04%       54.71%
         LAND

                          Tax Savers Claim       70%
    $500k+
      SINGLE
                       239          533        44.84%             91         210        43.33%       44.41%
      FAMILY
      CONDO            277          527        52.56%             28          86        32.56%       49.76%
       MULTI
                       545          785        69.43%             83         407        20.39%       52.68%
      FAMILY
      TOTALS          1,061        1,845       57.51%            202         703        28.73%

                       Overall Percentage      49.57%
                         Tax Savers claim       70%
    $1m+
      MULTI
                       283          359        78.83%             41         187        21.93%       59.34%
      FAMILY
    INDUSTRIAL         253          284        89.08%             85         287        29.62%       59.19%
      RETAIL           192          255        75.29%             31         158        19.62%       54.00%
       TOTAL           728          898        81.07%            157         632        24.84%

                       Overall percentage      57.84%
                         Tax Savers claim       85%

            20.     Defendants’ false and misleading statements as to the success rates, which have

   been touted in commerce through Defendants’ website and advertisements/solicitations, have


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   deceived or have the tendency to deceive the intended audience and consuming public about

   matters that are material to buyers’ purchasing decisions. Defendants’ false and misleading

   statements were also intended to harm Plaintiff’s interests by seeking to persuade and misdirect

   customers and potential customers of Plaintiff’s services to instead engage the Defendants for

   competing services.

        Defendants Make False or Misleading Statements of Fact Regarding Their Business

          21.     In addition to inflated success rates, Defendants make various claims in the

   challenged advertisements that, upon information and belief, are untrue and designed to persuade

   prospective customers to engage the Defendants, in order to increase the Defendants’ profits at the

   expense of competitors that engage in fair competition.

          22.     Defendants’ disseminated marketing materials (e.g., Exhibit A) directs consumers

   to the Defendants’ active website (Exhibit C), which contains untrue, exaggerated, and/or

   intentionally misleading claims regarding Defendants’ services.

          23.     Specifically, Defendants have claimed in the challenged marketing to have had over

   250,000 successful appeals. See Exhibit A; see also Exhibit C.

          24.     On information and belief, Tax Savers has not handled 250,000 total property tax

   appeals, let alone over that many successful appeals.

          25.     Defendants’ website states that Tax Savers was “[f]ounded in 1989” and handles

   “5,000 to 8,000 petitions a year” in Miami-Dade and Broward County. See Exhibit C.

          26.     In order to claim success in over 250,000 appeals, the Defendants would have had

   to average somewhere in the range of 7,142 successful appeals every year for the last 35 years.

          27.     To the extent Defendants were to claim that the word “success” has other meanings

   in connection with their business –– such a contention is baseless.




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          28.     Indeed, the Defendants’ own website concedes that “success” is based on “lowering

   your tax bill,” which the Defendants admit is their “revenue model:”




          29.     Upon information and belief, the Defendants’ advertising is also false or misleading

   in that it fails to disclose that, for at least some of the appeals managed by the Defendant Tax

   Savers, clients are represented in hearings by individuals not possessing the requisite qualifications

   under § 194.034 of the Florida Statutes.

          30.     This false advertising and/or omission is material to a client’s decision, as the

   Defendants were required (but failed) to disclose that at least some clients would not be represented

   by individuals possessing the requisite qualifications under § 194.034 of the Florida Statutes (e.g.

   an attorney member of the Florida Bar, a real estate appraiser licensed under chapter 475, etc.)

         Defendants’ Website is an “Interactive” Website That Affects Interstate Commerce

          31.     Courts have held that websites (such as taxsaversmiami.com) which allow

   customers to exchange information with a business are deemed “interactive” websites.

          32.     The Defendants’ false or misleading advertisements direct prospective clients

   (including out of state clients) to the Defendants’ taxsaversmiami.com website, where they can

   enroll in Defendants’ services.




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          33.     Defendants’ website actively solicits commercial transactions with clients who

   reside both within and outside of the state of Florida, thereby affecting interstate commerce.

          34.     As one example, out of state clients can “Request a Free Analysis” by submitting

   their contact information so that Defendants can “contact [the client] to complete the process:”




          35.     Out of state clients can also click on the Defendants’ “PAYMENT” tab – which is

   equivalent to the “shopping cart feature” on most e-commerce websites – and immediately pay

   any filing fees or invoices in connection with the Defendants’ services:




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     Defendants’ False or Misleading Advertisements are Financially Motivated and Damaging

           36.     The false and misleading statements made by the Defendants regarding Defendants’

   products or services that affect interstate commerce have deceived, or have the tendency to

   deceive, the intended audience and consuming public about matters that are material to consumers'

   purchasing decisions. The foregoing false and misleading statements were also intended to harm

   Plaintiff's interests by seeking to persuade and misdirect customers and potential customers of

   Plaintiff's services to instead engage Defendants' services based on this false or misleading

   information.

           37.     Each of the above misstatements or subversions of fact was undertaken willingly,

   knowingly, or recklessly by Defendants with the intention of increasing Defendants’ profits at the

   expense of the consuming public and competitors.

           38.     Upon information and belief, Defendants have knowingly and intentionally

   targeted Plaintiff’s clientele with false or misleading advertisements, causing some of Plaintiff’s

   clients to switch from Plaintiff’s services in favor of those of Defendants, or to otherwise avoid

   retaining Plaintiff’s services.

           39.     All of Defendants’ above-referenced false advertising and unfair and/or deceptive

   trade practices have caused, and will continue to cause, damage to Plaintiff.

           40.     Defendants’ above-referenced acts were deliberate, willful, and intentional

   violations of Plaintiff’s rights, and were committed for the sole purpose of commercial gain.

                        Defendants’ Conduct Has Affected Interstate Commerce

           41.     Upon information and belief, the Defendants and/or their agents have disseminated

   their advertisements across state lines via both physical mail and the Internet. Such advertisements




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   and transmissions thereof are in the possession or control of Defendants and are being sought in

   discovery.

           42.     The Defendants have provided their services to clients that reside outside of the

   State of Florida and/or with mailing or physical addresses outside Florida. Plaintiff is aware of

   several such clients, see Exhibit B, including a former client of Plaintiff’s that resides in Arizona

   and whose Miami-Dade property has a market value of $7,000,000. Plaintiff has propounded

   discovery to obtain the full breadth of the Defendants’ interstate mailings and business dealings.

           43.     Upon information and belief, the Defendants and/or their agents have disseminated

   their advertisements across state lines via both physical mail and the Internet to prospective clients

   that reside outside of Florida and/or with mailing or physical addresses outside Florida. For

   example, the Defendants’ mailings and website specifically target commercial property owners

   who, upon information and belief, reside outside the state of Florida, but nevertheless own property

   inside the state of Florida:




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   Such advertisements and transmissions thereof are in the possession or control of Defendants, and

   are being sought by the Plaintiff through discovery.

           44.       Plaintiff is informed and believes that a considerable number of the properties

   represented by Defendants are owned by persons that reside outside of Florida and/or with

   permanent mailing or physical addresses outside Florida.

           45.       Defendants, by the very admission of their statements on the website of Defendant

   Tax Savers, represent $5 billion in market value in Miami-Dade County and Broward County. See

   Exhibit C. Defendants’ services clearly affect interstate commerce by their impact on major real

   estate markets.

           46.       Defendants’ disseminated marketing (e.g., Exhibit A) directs consumers back to

   www.taxsaversmiami.com (Exhibit C), where customers may effectuate remote payment, from

   any Internet-enabled device, of the fees and/or invoices generated by Defendants’ services. See

   paragraph 35 above.

           47.       The acts of the Defendants complained of herein have caused and will continue to

   cause substantial and irreparable injury to Plaintiff unless such acts are restrained by this Court.

           48.       Plaintiff has no adequate remedy at law.

                                                  COUNT I

         VIOLATIONS OF SECTION 43(a) OF THE LANHAM ACT, 15 USC §1125(a),
           UNFAIR COMPETITION, FALSE AND MISLEADING ADVERTISING

                                         (Against all Defendants)
           49.       Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

   48, including all subparts, as if fully set forth herein.




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          50.       Section 43(a) of the Lanham Act prohibits Defendants from using false and

   misleading descriptions of fact or other representations of fact which misrepresent the nature,

   characteristics, or qualities of their or another person’s goods or services.

          51.       Defendants’ misleading and false statements regarding products or services that

   affect interstate commerce have deceived, or have the tendency to deceive, the intended audience

   and consuming public about matters that are material to those consumers’ purchasing decisions.

   The foregoing false and misleading statements were also intended to harm Plaintiff’s interests by

   seeking to persuade and misdirect customers and potential customers of Plaintiff’s products not to

   purchase Plaintiff’s services.

          52.       Defendants have disseminated and continue to disseminate false and misleading

   statements regarding its products or services, both within and outside of Florida, via physical mail

   and the Internet.

          53.       Defendants’ false and misleading interstate advertising, as well as providing

   services to clients both in- and out-of-state based on those misrepresentations, affect interstate

   commerce in a manner which constitutes false advertising and unfair competition in violation of

   Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

          54.       Plaintiff has been damaged by the reliance of consumers upon Defendants’ false

   and misleading statements.

          55.       Defendants have reaped unjustified profits and have been unjustly enriched by their

   misstatements.

          56.       The acts of the Defendants constitute unfair competition, and false or misleading

   advertising in violation of the federal Lanham Act, 15 U.S.C. § 1025(a).

          57.       The aforesaid acts of the Defendants have harmed or will harm Plaintiff.




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           58.     The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.

           59.     Plaintiff has no adequate remedy at law unless the Court enjoins Defendants’ false

   and misleading advertising.

        WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.

                                                 COUNT II

                    FALSE OR MISLEADING ADVERTISING IN VIOLATION
                              OF FLORIDA STATUTE §817.41

                                           (Against all Defendants)

           60.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

   48, including all subparts, as if fully set forth herein.

           61.     Fla. Stat. §817.41(1) provides that:
                           [i]t shall be unlawful for any person to make or
                           disseminate or cause to be made or disseminated
                           before the general public of the state, or any portion
                           thereof, any misleading advertisement. Such making
                           or dissemination of misleading advertising shall
                           constitute and is hereby declared to be fraudulent and
                           unlawful, designed and intended for obtaining
                           money or property under false pretenses.

           62.     The Defendants have made or disseminated, and continue to make or disseminate

   misleading advertising, including but not limited to the following:

                   a. making the false or misleading claim in their advertising that, in 2023,
                      Tax Savers had “an industry-leading success rate of 85% for properties
                      valued at over $1 million across retail, multi-family, and industrial asset
                      classes,” when the actual success rate was nearly 30% lower at 57.84%,
                      as shown below:

                                            Percentage
      Property     Reduced       Total       in Miami-        Reduced       Total     Percentage     Overall
        Type       Petitions   Petitions        Dade          Petitions   Petitions   in Broward   Percentage



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                 in Miami-    in Miami-                         in          in
                    Dade         Dade                        Broward     Broward
      MULTI
                    283          359        78.83%              41         187        21.93%       59.34%
      FAMILY
    INDUSTRIAL      253          284        89.08%              85         287        29.62%       59.19%
      RETAIL        192          255        75.29%              31         158        19.62%       54.00%
       TOTAL        728          898        81.07%             157         632        24.84%

                    Overall percentage      57.84%

                 b. making the false or misleading claim in their advertising that, in 2023,
                    Tax Savers had “an industry-leading success rate of 70% for properties
                    valued at over $500,000 across single family, condominium, and multi-
                    family asset classes,” when the actual success rate was over 20% lower
                    at 49.57%, as shown below:

                  Reduced        Total                       Reduced       Total
                  Petitions    Petitions   Percentage        Petitions   Petitions
     Property    in Miami-    in Miami-     in Miami-           in          in       Percentage     Overall
       Type         Dade         Dade          Dade          Broward     Broward     in Broward   Percentage
      SINGLE
                    239          533        44.84%              91         210        43.33%       44.41%
      FAMILY
     CONDO          277          527        52.56%              28          86        32.56%       49.76%
      MULTI
                    545          785        69.43%              83         407        20.39%       52.68%
      FAMILY
      TOTALS       1,061        1,845       57.51%             202         703        28.73%

                    Overall Percentage      49.57%

                 c. making the false or misleading claim in their advertising that, in 2023,
                    Tax Savers had “an industry-leading success rate of 70% with vacant
                    land,” when the actual success rate was between 4% and over 15%
                    lower, as shown below:

                  Reduced        Total                       Reduced       Total
                  Petitions    Petitions   Percentage        Petitions   Petitions
     Property    in Miami-    in Miami-     in Miami-           in          in       Percentage     Overall
       Type         Dade         Dade          Dade          Broward     Broward     in Broward   Percentage
     VACANT
                    301          456        66.01%              1           96         1.04%       54.71%
      LAND

                 d. making the false or misleading claim in their advertising that Tax Savers
                    has handled “250,000+ successful property tax appeals.”

          63.    The Defendants made one or more material misrepresentations of facts, including

   those referenced above.

          64.    The Defendants knew or should have known of the falsity of the statements.


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           65.    The Defendants intended that the representations would induce another to rely and

   act on it.

           66.    Plaintiff competes with Defendants in the offering of services in the property tax

   appeal business.

           67.    As a consequence of Defendants’ false and/or misleading advertising, Defendants

   have unlawfully induced consumers who justifiably relied on the advertised success rates and/or

   the number of successful property tax appeals into purchasing their services, and in turn have

   diverted sales from competitors including Plaintiff.

           68.    The aforesaid acts of the Defendants have harmed or will harm Plaintiff.

           69.    In addition to the harm caused to Plaintiff by Defendants’ diversion of consumers

   to the Defendants, consumers have been harmed including because, upon information and belief,

   Defendants have inadequately represented consumers in property tax appeals through the use of at

   least one individual who is not legally qualified to engage in such representation. As such, the

   affected consumers are subject to inadequate representation and are deprived of a full property tax

   reduction as could be achieved via the services of Plaintiff, who does use legally authorized

   representatives.

           70.    Defendants’ misconduct has misled and injured consumers, and is likely to continue

   to mislead and injure consumers that are relying on the Defendants’ advertisements, and has

   affected and will continue to affect those consumers’ purchasing decisions or other conduct.

           71.    The underlying misconduct has also injured the Defendants’ clients, as those clients

   have a right to be free from false and/or misleading misrepresentations in connection with their

   purchasing decisions.

           72.    Defendants’ aforesaid acts constitute false advertising in violation of Florida law.




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           73.     The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.

           74.     Plaintiff has no adequate remedy at law unless the Court enjoins Defendants’ false

   and misleading advertising.

           WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.

                                                   COUNT III

                            VIOLATION OF THE FLORIDA DECEPTIVE
                              AND UNFAIR TRADE PRACTICES ACT
                                   (Fla. Stat. §501.201, et seq.)

                                             (Against all Defendants)
           75.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

   74, including all subparts, as if fully set forth herein.

           76.     Defendants have engaged in unfair methods of competition, unconscionable acts or

   practices, and other unfair or deceptive practices in Florida, including but not limited to the

   following:

                   a. making the false or misleading claim in their advertising that, in 2023,
                      Tax Savers had “an industry-leading success rate of 85% for properties
                      valued at over $1 million across retail, multi-family, and industrial asset
                      classes,” when the actual success rate was nearly 30% lower at 57.84%,
                      as shown below:

                    Reduced        Total                        Reduced       Total
                    Petitions    Petitions    Percentage        Petitions   Petitions
      Property     in Miami-    in Miami-      in Miami-           in          in       Percentage     Overall
         Type         Dade         Dade           Dade          Broward     Broward     in Broward   Percentage
       MULTI
                      283          359         78.83%              41         187        21.93%       59.34%
       FAMILY
    INDUSTRIAL        253          284         89.08%              85         287        29.62%       59.19%
       RETAIL         192          255         75.29%              31         158        19.62%       54.00%
        TOTAL         728          898         81.07%             157         632        24.84%

                      Overall percentage       57.84%



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                  b. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 70% for properties
                     valued at over $500,000 across single family, condominium, and multi-
                     family asset classes,” when the actual success rate was over 20% lower
                     at 49.57%, as shown below:

                   Reduced        Total                       Reduced       Total
                   Petitions    Petitions   Percentage        Petitions   Petitions
      Property    in Miami-    in Miami-     in Miami-           in          in       Percentage     Overall
        Type         Dade         Dade          Dade          Broward     Broward     in Broward   Percentage
       SINGLE
                     239          533        44.84%              91         210        43.33%       44.41%
       FAMILY
      CONDO          277          527        52.56%              28          86        32.56%       49.76%
       MULTI
                     545          785        69.43%              83         407        20.39%       52.68%
       FAMILY
       TOTALS       1,061        1,845       57.51%             202         703        28.73%

                     Overall Percentage      49.57%

                  c. making the false or misleading claim in their advertising that, in 2023,
                     Tax Savers had “an industry-leading success rate of 70% with vacant
                     land,” when the actual success rate was over 15% lower at 54.71%, as
                     shown below:

                   Reduced        Total                       Reduced       Total
                   Petitions    Petitions   Percentage        Petitions   Petitions
      Property    in Miami-    in Miami-     in Miami-           in          in       Percentage     Overall
        Type         Dade         Dade          Dade          Broward     Broward     in Broward   Percentage
      VACANT
                     301          456        66.01%              1           96         1.04%       54.71%
       LAND

                  d. making the false or misleading claim in their advertising that Tax Savers
                     has handled “250,000+ successful property tax appeals.”

          77.     Defendants have engaged in false and misleading advertising including at least the

   above examples which were distributed in Florida for the purpose of inducing customers to use

   Defendants’ property tax appeal services instead of those of Plaintiff or their other competitors.

          78.     As a consequence of Defendants’ false and/or misleading advertising, Defendants

   have unlawfully induced consumers into purchasing their services, and in turn have diverted sales

   from competitors including Plaintiff.




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          79.     In addition to the harm caused by Defendants’ diversion of consumers to their

   services, Defendants’ unfair trade practices also harm consumers, as including because upon

   information and belief, Defendants have inadequately represented consumers in property tax

   appeals through the use of at least one individual who is not legally qualified to engage in such

   representation. As such, the affected consumers are subject to inadequate representation and are

   deprived of a full property tax reduction as could be achieved via the services of Plaintiff, who

   does use legally authorized representatives.

          80.     Defendants’ misconduct has misled and injured consumers, and is likely to continue

   to mislead and injure consumers that are relying on the statements on Defendants’ website and

   other advertisements, and has affected and will continue to affect those consumers’ purchasing

   decisions or other conduct.

          81.     The underlying misconduct has also injured the Defendants’ clients, as those clients

   have a right to be free from false and/or misleading misrepresentations in connection with their

   purchasing decisions.

          82.     Defendants’ aforesaid acts constitute unfair acts or practices in violation of Florida

   law.

          83.     The aforesaid acts of the Defendants have harmed or will harm Plaintiff, and have

   caused actual damages, including but not limited to lost business and lost profits.

          84.     The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.

          85.     Plaintiff has no adequate remedy at law unless the Court enjoins Defendants’ unfair

   trade practices.




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        WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.

                                                 COUNT IV

    TORTIOUS INTERFERENCE WITH ADVANTAGEOUS BUSINESS RELATIONSHIPS

                                         (Against all Defendants)

           86.     Plaintiff incorporates each and every allegation set forth in Paragraphs 1 through

   48, including all subparts, as if fully set forth herein.

           87.     This is an action for tortious interference with advantageous business relationships,

   and is not based on a relationship (or relationships) with the community at large, nor is it based on

   an existing or prospective relationship with each and every property owner in the state of Florida.

           88.     Rather, Plaintiff has established and valuable business relationships with its clients

   (examples of which are reflected at https://propertytaxconsultants.com/clients/), as well as

   business relationships with prospective clients in the market of South Florida who seek (or are

   likely to have a need for) professional services in the business of property tax assessment appeals

   (the “Specific Class of Clients”).

           89.     Plaintiff’s Specific Class of Clients either expressed interest in transacting business

   and/or transacted business with the Plaintiff. As a result, Plaintiff enjoyed advantageous business

   relationships with these customers, which carried the probability of future economic benefit to the

   Plaintiff.

           90.     Defendants are direct competitors of the Plaintiff, and have knowledge of Plaintiff’s

   existing and prospective business relationships (including those composing the Specific Class of

   Clients).

           91.     Defendants have knowingly and intentionally interfered with Plaintiff’s existing

   and prospective business relationships by improper methods and through improper means




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   including the publication, circulation, dissemination, and repetition of false, misleading, and unfair

   advertising or promotion as a means of enticing Plaintiff’s existing and prospective clients

   (including the Specific Class of Clients), to switch from Plaintiff’s services in favor of those of

   Defendants, or to otherwise avoid retaining Plaintiff’s services.

           92.     Plaintiff has propounded documents requests and interrogatories on the Defendants,

   and the full scope of the Defendants’ unlawful interference with the Specific Class of Clients will

   be revealed through discovery.

           93.     While Plaintiff believes that its relationships with a certain number of the Specific

   Class of Clients has been severed due to the Defendants’ unlawful acts, the case law in Florida and

   within the Eleventh Circuit does not require the relationship to be breached or otherwise severed.

           94.     The aforesaid acts of the Defendants have damaged the Plaintiff, and will continue

   to harm Plaintiff.

           95.     The aforesaid acts of the Defendants have caused and will cause great and

   irreparable injury to Plaintiff, and unless said acts are restrained by this Court, they will be

   continued and Plaintiff will continue to suffer great and irreparable injury.

           96.     Plaintiff has no adequate remedy at law unless the Court enjoins Defendants’

   tortious activities.

           WHEREFORE, Plaintiff prays that the Court grant the Prayer for Relief set forth below.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays:

           A.      That this Court will adjudge that the Defendants have engaged in false or

   misleading advertising and acts of unfair competition, in violation of Plaintiff’s rights under the




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   Lanham Act, 15 U.S.C. §1051 et seq., under the Florida Deceptive and Unfair Trade Practices Act,

   Fla. Stat. §501.201, et seq., and under § 817.41, Fla. Stat.;

          B.      That this Court will adjudge that Defendants have engaged in acts of tortious

   interference with advantageous business relationships, in violation of the common law of Florida;

          C.      That Defendants and all of Defendants’ officers, directors, agents, servants,

   employees, attorneys, successors, and assigns, and all persons in active concert or participation

   therewith, be permanently enjoined and restrained:

                  1.      From making or disseminating the false or misleading claims that are the

                          subject of this action, or other similar claims that are false or misleading in

                          violation of federal or state law; and

                  2.      From making or disseminating the false or misleading advertisements that

                          are the subject of this action, or other similar advertisements that are false

                          or misleading in violation of federal or state law.

          D.      That Defendants be directed to file with this Court and to serve upon Plaintiff within

   thirty (30) days after service of the injunction issued in this action, a written report under oath,

   setting forth in detail the manner of compliance with such order.

          E.      That Plaintiff have and recover Defendants’ profits and the damages of Plaintiff

   arising from Defendants’ acts of unfair competition and false advertising, and that the Court,

   pursuant to §35 of the Lanham Act, enter judgment, and that said sum be trebled as authorized

   pursuant to 15 U.S.C. § 1117(a).

          F.      That Plaintiff have and recover such sums as are necessary to place or compensate

   for corrective advertising.

          G.      That Plaintiff have and recover nominal damages.



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             H.   That Plaintiff have and recover punitive damages, pursuant to the laws of the State

   of Florida, including without limitation under § 817.41(6) and/or the common law, in addition to

   actual damages and/or nominal damages.

             I.   That Plaintiff have and recover both pre-judgment and post-judgment interest on

   each and every damage award.

             J.   That Plaintiff be entitled to injunctive relief as set forth in §34 of the Lanham Act,

   15 U.S.C. § 1116.

             K.   That Plaintiff have and recover the remedies set forth in §35 of the Lanham Act, 15

   U.S.C. §§1117.

             L.   That Plaintiff have and recover the remedies set forth in §36 of the Lanham Act, 15

   U.S.C. §§1118.

             M.   That the Court award an accounting of Defendants’ profits from the sale and/or fees

   generated in connection with the use of the claims or advertisements that are the subject of this

   action, through trial or final adjudication.

             N.   That Plaintiff have and recover its reasonable attorney’s fees incurred in this action,

   pursuant to §35 of the Lanham Act, 15 U.S.C. §1117, pursuant to § 501.2105 of the Florida

   Statutes, pursuant to § 817.41(6) of the Florida Statutes, and/or as otherwise authorized.

             O.   That Plaintiff have and recover its taxable costs and disbursements herein, pursuant

   to §35 of the Lanham Act, 15 U.S.C. §1117, pursuant to § 501.2105 of the Florida Statutes,

   pursuant to § 817.41(6) of the Florida Statutes, and/or as otherwise authorized.

             P.   That Plaintiff have and recover such further relief as the Court may deem just and

   proper.




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                                    DEMAND FOR JURY TRIAL

          Plaintiff demands a trial by jury as to all issues triable of right by a jury.

   Dated: January 13, 2025                                         Respectfully submitted,

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